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           THE RISE AND FALL AND RISE OF
           COCAINE IN THE UNITED STATES
                              David T.Courtwright




                                           I
      Cocaine epidemics have twice figured in American history. The first
      sustained episode of cocaine use and addiction began in the 1880s and
      lasted into the 1920s. The second began about 1970 and peaked in the late
      1980s. Together the two epidemics illustrate a cardinal principle of drug
      history: what we think about and how we regulate ‘consuming habits’
      depends very much upon the characteristics of those who consume them.
         The widespread use of cocaine in the United States, like the widespread
      use of narcotics, originated in the nineteenth century as a by-product of
      medical research and practice. In 1860 a graduate student at the University
      of Göttingen named Albert Niemann devised a technique for isolating
      cocaine, the active alkaloid of the coca leaf. Niemann’s work made it
      possible for European and North American medical investigators to carry
      out human and animal experiments with the new alkaloid. The success of
      Vin Mariani, a coca tonic introduced in 1863, encouraged research in the
      field. Vin Mariani was a comparatively mild product, made by steeping
      blended coca leaves in Bordeaux wine, but its great popularity underscored
      the likelihood that the coca alkaloid might have therapeutic applications.1
         American physicians learned of the pharmacological possibilities of coca
      and cocaine in the late 1870s and early 1880s. Articles in medical journals
      recommended cocaine as an all-purpose stimulant, a cure for depression, a
      specific for hay fever and asthma and other conditions. Especially
      encouraging were reports that the new drug was useful in treating
      alcoholism and opiate addiction, then widespread problems.2
         American optimism about coca and cocaine therapies quickly spread to
      Europe. In 1884 Sigmund Freud, an ambitious young physician at the
      Vienna General Hospital, published ‘Uber Coca’, a literature review which
      he brashly described as a compendium of all existing information on the
      drug. It was closer, in the tactful words of Freud biographer Peter Gay, to
      ‘a compound of scientific reporting and strenuous advocacy’. Freud
      recommended the drug as a general stimulant; for treating indigestion; for
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      cachexia (wasting and malnutrition) associated with such diseases as
      tuberculosis; for addiction to morphine and alcohol; as an aphrodisiac; and
      as a local anaesthetic.3 This last suggestion was quickly confirmed by Carl
      Koller, Freud’s friend and colleague, who demonstrated the drug’s
      anaesthetic potential by touching the head of a pin to his own cocaine-
      numbed cornea.
         Cocaine revolutionized eye, nose and mouth surgery. Operations that
      had been exceedingly difficult or painful were made routine by the topical
      application or injection of cocaine solution. The anaesthetizing properties
      of the drug also proved a boon to the operatic world. As early as 1865
      professional singers, at the suggestion of Paris laryngologist Charles
      Fauvell, began sipping Vin Mariani during rehearsals and recitals to ease
      the pain of sore throats. Singers sometimes sniffed cocaine to shrink nasal
      mucous membranes and drain sinuses, better enabling them to resonate
      their voices through their facial cavities. ‘Kindly send to me’, the great
      basso Edouard de Reszke wrote during a 1902 stint at the Metropolitan
      Opera, ‘some of the white pills and powder which do me so good.’ A few
      days later he sent another note to the same obliging physician, asking for ‘a
      good package of your powders which are taken while singing’ to be sent to
      his tenor brother, Jean de Reszke, then performing in Paris.4
         Had cocaine’s uses been restricted to local anaesthesia and the
      enhancement of opera-singing, it would be remembered as an unqualified
      triumph of nineteenth-century scientific medicine, rather like William
      Morton’s demonstration of ether anaesthesia. The problem was the
      excessive enthusiasm of cocaine’s medical proponents. As had happened
      earlier with brandy, tobacco, morphine and other novel psychoactive drugs,
      some physicians and manufacturers recommended cocaine too
      indiscriminately and with too few precautions for its toxic and habit-
      forming properties, which were either unknown or simply dismissed. In
      1886 William Hammond, the former US Army Surgeon General, assured
      an audience of New York physicians that there was no such thing as
      cocaine addiction. Based on self-experimentation, he concluded that
      regular use of the drug was comparatively easy to break off, like quitting
      coffee or tea, and not at all like enslavement to the opiates. In fact,
      Hammond related, he had given cocaine for some months to a woman
      addicted to the opium habit, increasing the dose up to five grains (324 mg)
      injected once a day. It overcame the opium habit’, he claimed, ‘and the
      patient failed to acquire the so-called cocaine habit.’
         When Hammond finished his remarks a Brooklyn physician and
      addiction specialist named Jansen Mattison rose to offer rebuttal.
      Hammond was wrong, he said—dangerously wrong. Seven cases of
      cocaine addiction had already come under his care, five physicians and two
      druggists. They had acquired the habit gradually, by making small
      injections several times a day. Cocaine could damage nerves and tissues,
      producing hallucinations, delusions and emaciation. Cocaine was
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      undoubtedly toxic, and death by overdose was a real possibility. Mattison
      pointedly advised his listeners not to repeat Hammond’s self-experiments.5
         Mattison knew what he was talking about. Over the next seven years
      medical journals published or cited hundreds of case histories of ‘cocainism’.
      As Mattison had anticipated, many of the cocaine addicts were medical
      practitioners who had injected themselves. Another common type was the
      opiate addict treated with cocaine. Some of these addicts switched to
      cocaine, others continued to use both drugs. In at least one famous case,
      that of American surgical pioneer William Halsted, a switch was made
      from cocaine to morphine as the lesser of two evils.6
         In 1886, the year European and American physicians began to receive
      warnings of the possibility of addiction, reports began to appear of sudden
      death from cocaine-related cardiac arrests and strokes. In 1887 one
      researcher described more than fifty cases of cocaine toxicity, including four
      with fatal outcomes. Even the routine application of cocaine as an
      anaesthetic in genito-urinary procedures, or to numb the gums prior to the
      extraction of teeth, might result in convulsion and death.7
         Despite these dangers, the authors of the cautionary articles that
      appeared in the medical literature between 1886 and 1893 did not
      contemplate the prohibition of cocaine, nor were they particularly
      interested in blaming the ‘cocainists’, as compulsive users came to be
      known. Those who had become addicted to the drug may have been ill-
      advised by physicians or druggists, or may have unwisely medicated
      themselves, but they were neither culpable nor vicious. As had happened
      with the hypodermic injection of morphine in the 1870s and early 1880s
      (and would happen again with heroin in the early 1900s) the debate over
      cocaine began as an intramural medical skirmish. Doctors wrangled over
      the indications, contraindications, dosages and precautions necessary for
      this new—and, in the right circumstances, undoubtedly useful— alkaloid.
      When the finger of blame was pointed, it was pointed at other,
      insufficiently chary doctors, like Freud or Hammond, and not at the
      cocainists themselves.
         Then, beginning in the mid-1890s, the tone of articles in both the medical
      and popular press abruptly changed, becoming much more critical of the
      cocaine users and those who supplied them. Although medical addiction
      was still a threat, it was rapidly overtaken by the spread of cocaine sniffing
      and injection in the underworld, the traditional locus of vice in Victorian
      America. Drink, cigarettes and opium smoking were well established
      among the prostitutes, pimps and gamblers who catered to the lower-order
      males (and decadent rich ones) in America’s cities and towns. Cocaine was
      portrayed as a new addition to the menu of depravity. Reports began to
      appear of white and black prostitutes stupefied by cocaine crystals, or of
      ‘drug fiends’ who went from smoking opium to injecting morphine, thence
      to cocaine and morphine in potent combination.8 In Fort Worth, Texas,
      where prostitutes sported nicknames like ‘Queen Coke Fiend’, addiction to
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      cocaine may actually have surpassed addiction to the more traditional
      opiates. In 1900 more than half of the prostitutes in the local gaol were
      cocaine addicts.9
         Cocaine’s popularity among vice figures and their patrons triggered a
      large increase in importation and manufacture. Consumption levels were
      fairly flat during 1885–93, when most use was therapeutically initiated.
      Over the next ten years, however, aggregate national consumption rose 500
      per cent and remained on a high plateau until 1910. Medicine may have
      launched cocaine’s career in America, but it was non-medical demand that
      drove the cocaine epidemic from the mid-1890s on.10
         American urban culture has long served as a leading indicator of trends
      in international vice. Cocaine’s descent into the American underworld
      anticipated what was about to happen in the rest of the industrialized
      world. In Canada cocaine was firmly linked to prostitution and crime by
      1910.11 In England recreational cocaine use flourished, albeit on a smaller
      scale than in the United States, in underworld and Bohemian circles from
      the First World War through the early 1920s.12 In Germany illicit cocaine
      use became a notorious feature of Weimar nightlife.13 Some of the German
      cocaine was shipped to France and Belgium, nations whose proximity
      made smuggling easy. Cocaine smuggling was also a problem in Austria,
      where an upsurge in cocaine use, notably in Vienna, occurred around
      1923.14 In 1931 Arthur Woods, a former New York City police
      commissioner and narcotics adviser to the League of Nations, observed
      that cocaine was still popular in certain underworld groups ‘in practically
      every country’, although the volume of its illicit traffic was less than that of
      heroin and morphine, the mainstays of the international underground
      market.15

                                             II
      If the American underworld pioneered recreational cocaine use, the
      American middle class characteristically led the way in its condemnation
      and repression. From 1896 on newspaper and periodical articles cast
      cocaine as an exhilarating but deadly new vice. The road to cocainism, like
      the road to hell, was wide and easy. By 1897 the price of cocaine was
      approaching $2 an ounce, making it increasingly affordable to the ‘tramp
      and low criminal classes’ of the cities. Small packages retailed for anywhere
      from 5 to 50 cts.16 American and Canadian writers complained that
      profiteering druggists would sell pure cocaine to anyone, or that anyone
      could buy ‘catarrh cures’ and other patent medicines with a heavy cocaine
      content.17 Packages of cocaine powder were also sent discreetly through
      the mails to customers like nurses or soldiers, who were anxious to conceal
      their habits.18
        However come by, cocaine was easy to use. The common commercial
      form of the drug, cocaine hydrochloride, was a white powder that could be
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      dissolved and injected, or simply sniffed up the nose. Sniffing avoided the
      hypodermic needle, which many erstwhile users instinctively feared. It also
      appealed to city boys whose craving for excitement was, as reformer Jane
      Addams put it, ‘directed into forbidden channels by the social conditions
      under which they live. [They] are prone to experiment with drugs, as well
      as the other evils of drink and cigarettes.’19 Addams was referring to the
      situation in Chicago, the site of her famous settlement house, but youthful
      cocaine use was a common occurrence on New York’s Lower East Side and
      in tenement districts throughout the country.20
         Non-medical cocaine users were considered dangerous to themselves and
      to society. Their enthusiasm for the exhilarating drug caused them to urge
      it upon others—pals in a gang, customers in a brothel, tent-mates in the
      army. They were likened to viruses in the body of the nation, spreading a
      deadly and compulsive disease. Though not addictive in the same way that
      opium and morphine were, cocaine could produce a different sort of
      dependence. The drug imparted a pervasive sense of well-being (one writer
      chose the word ‘beatification’ to describe its effect) but its absence could
      produce the opposite feeling. Habitual users deprived of cocaine felt ‘a
      great emotional longing, a profound depression, a bitter homesickness
      which only more of the cocaine will relieve’. The cocainist was thus
      impelled to acquire more of the drug and would stop at nothing to do so.
      Cocaine was said to destroy the moral senses, turning women into
      prostitutes, boys into thieves and men into hardened killers. Notorious
      murders in the slums of New York, Chicago and other American cities
      were attributed to people under its malign influence.21
         Particularly to Black people. In 1903 Colonel J.W.Watson of Georgia
      declared himself convinced ‘that many of the horrible crimes committed in
      the Southern States by the colored people can be traced directly to the
      cocaine habit’.22 In 1909 Harris Dickson, a municipal court judge in
      Vicksburg, Mississippi, complained that anyone who deliberately put
      cocaine into a Negro was more dangerous than a person who would
      inoculate a dog with hydrophobia.23 The following year Dr Hamilton
      Wright, the chief instigator of federal narcotic laws, informed Congress that
      ‘cocaine is often the direct incentive to the crime of rape by the negroes of
      the South and other sections of the country’.24 ‘Sexual desires are increased
      and perverted’, Dr Edward Huntington Williams wrote in 1914, ‘peaceful
      negroes become quarrelsome, and timid negroes develop a degree of
      “Dutch courage” that is sometimes almost incredible’.25
         Whether and to what extent there was a cocaine-inspired crime wave
      among American Blacks has been disputed. The historical evidence clearly
      shows an increase of cocaine use among Blacks, particularly among Black
      labourers. Before the mechanization of construction and Southern
      agriculture, Black labour was employed for loading and unloading
      steamboats, building roads and levees, laying track, picking cotton and
      other physically demanding jobs, often carried out in primitive
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      circumstances with no protection from the extremes of climate. Stevedores,
      construction workers and field-hands toiled for long hours if the schedule
      or contract or harvest crisis demanded. Some time around 1890 cocaine
      began to be used by, or was given to, Black labourers to help them cope
      with these conditions. There was ample precedent for this action. South
      American natives had for centuries chewed coca leaves to ameliorate
      fatigue and hunger, and in the eighteenth and nineteenth centuries
      American agricultural workers often interrupted their labours to imbibe
      another psychoactive drug, alcohol. ‘It is said’, reported the British
      Medical Journal, ‘that some planters kept the drug in stock among the
      plantation supplies, and issued regular rations of cocaine just as they used
      to issue rations of whisky.’26
         From the docks, construction sites and plantations cocaine spread to the
      Black underworld, where it flourished in the early twentieth century. A
      1902 report from a Georgia correspondent to a special committee of the
      American Pharmaceutical Association declared that almost every coloured
      prostitute was addicted to cocaine.27 Cocaine’s use was ‘confined to the
      immoral and lower classes of the community, both white and black’, New
      Orleans Police Inspector W.J.O’Connor wrote in June 1909. ‘The habitual
      use of this drug undoubtedly leads not only to the increase of crime, but
      weakens both the mental and physical strength of those who use it to that
      extent.’28
         O’Connor’s judgement epitomized the conventional wisdom. Cocaine
      had become widely associated with crime, above all with Black crime. But
      precisely how was it associated and what was the direction of the
      causality? One possibility is that the vice figures who used cocaine were
      already involved in criminal activity, rather than the other way around.
      When prostitutes and petty thieves were observed to snort cocaine, or
      landed in gaol, the inference was drawn that cocaine had caused the
      criminal behaviour. Another possibility is that cocaine users were driven to
      crime, not by the drug itself, but by their addiction to it. That is, they
      resorted to prostitution or theft to purchase a regular supply of the drug. A
      third possibility is that cocaine was itself criminogenic. Crazed users
      robbed merchants, attacked police, raped women.
         This last notion is at least plausible, given that scientific studies have
      shown a statistical link between regular cocaine use and episodes of
      violence and paranoia. There are two problems, however. One is that anti-
      social behaviour is most likely to result from the most drastic and toxic
      modes of administering cocaine (i.e. smoking or injecting the drug rather
      than sniffing it).29 Smoking cocaine was uncommon30 in the early twentieth
      century and few Blacks, criminal or otherwise, injected the drug. The
      second problem is that there is little concrete evidence of such crimes.
      Those who alleged a cocaine-inspired crime wave tended to be long on
      generalities and short on specifics.
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         In some instances they were also disingenuous. Dr Williams was an anti-
      prohibitionist who portrayed cocaine as the greater evil to which Blacks
      and poor Whites would turn if denied whiskey. Knoxville, he said, was
      experiencing a cocaine epidemic because the saloons had been closed. In
      Memphis, where no attempt had been made to stop the sale of liquor, only
      a ‘moderate’ increase in drug-taking had been observed.31 Dr Wright’s
      motives for exaggerating the cocaine crime connection were even more
      transparent: at the time he made his report to Congress in 1910, he was
      preparing narcotic control legislation that entailed a sizeable expansion of
      the federal police power. To emphasize the necessity of the legislation to
      southern congressmen, many of whom were states’ rights conservatives
      opposed to the extension of federal power, Wright played the Black rape
      card.32
         One other possible explanation is racial hypersensitivity. The condition
      of Blacks in the South after the Civil War was in several respects
      unchanged from the days of slavery. They remained a servile labour force,
      deeply distrusted by their White superiors and closely watched for signs of
      rebelliousness. Black-on-Black crime was expected and to an extent
      tolerated, but extreme vigilance was exercised against Black assaults on
      Whites, above all sexual assaults on White women, which became a virtual
      obsession.33 Assuming that there were some genuine cocaine-inspired Black
      felonies, the natural tendency, in such a highly charged racial atmosphere,
      would be to magnify the threat posed to Whites. Southern newspapers in
      this period often republished accounts of black crimes and lynchings from
      other towns and cities. It is possible that isolated episodes, broadcast by
      newspaper stories and headlines, were conflated into a cocaine crime wave,
      and that fear of such a crime wave played into the hands of those who
      further exaggerated the cocaine menace for their own ends.34
         The fact that a historical phenomenon was consciously or unconsciously
      exaggerated by contemporaries does not necessarily lessen its impact. Quite
      the contrary. Appearances, however deceptive, can translate into political
      pressure, and political pressure is what drives the history of drug laws.
      Whenever use of a psychoactive substance is perceived to entail significant
      personal and public health problems, to cause crime, to constitute a sinful
      indulgence (as opposed to necessary medication), and to be associated with
      disliked or deviant groups, a public outcry is likely to ensue, to which
      politicians generally respond by enacting restrictions or outright
      prohibition.
         This is precisely what happened with cocaine: resentment of criminal and
      minority users combined with the fear that thousands of impressionable
      young men were ruining their lives with a cheap and accessible drug. Faced
      with strong expressions of public, professional and editorial concern,35
      legislators passed laws that, at a minimum, required a licensed physician’s
      prescription to purchase cocaine. Illinois enacted one such measure in 1897,
      prompting the anxious makers of Vin Mariani to proclaim that their coca
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      wine was not a cocaine preparation, and to offer a reward of $1,000 for
      information leading to the arrest and conviction of anyone spreading
      libelous reports to the contrary.36 By 1915 practically every state in the
      Union had a statute similar to or stricter than that of Illinois.37 New York
      enacted so many restrictions on cocaine that its legal distribution became
      nearly impossible.38 The Harrison Narcotic Act, implemented in March
      1915, was a federal statute designed in part to help state governments
      suppress the cocaine traffic within their borders by monitoring and
      controlling interstate shipments from without.39
         The immediate consequence of these laws was to enlarge the
      underground market for cocaine and to increase its price sharply.40 Initially
      this market was based on diversion from legitimate medical sources.
      Profiteering druggists and manufacturers sold the drug to intermediaries
      who resold it on the street.41 In Philadelphia old Black men, ostensibly
      peddlers of roots, barks and herbs, would conceal cocaine beneath their
      wares and sell it in white envelopes or twisted newspaper packages, earning
      as much as $20 a day. In Des Moines, Iowa, one peddler was said to
      acquire his cocaine at a drugstore, and then sell it to teenagers, who sniffed
      it through rolled cigarette papers.42 The profits to be made from such sales
      lured many into the illicit trade. In New Orleans, a police crackdown on
      violators of the state pharmacy law netted more than fifty cocaine vendors
      in one twenty-day period.43 The risk of arrest, in turn, inflated the price of
      cocaine. In New York City decks, or small paper packages, of cocaine
      retailed on the street for 25 cts, but contained an average of only 1.3 grains
      (less than 85 mg) of the drug. The equivalent cost per gram was eleven
      times that of the legitimate wholesale price of cocaine during the years
      1908–14.44
         Many casual users undoubtedly responded to the price increases by
      cutting back their consumption of cocaine or stopping altogether. For those
      who would not, or could not, abstain there was a potent alternative,
      heroin. Prior to 1915 heroin was much cheaper than cocaine and more
      readily available.45 Since the crusade against cocaine had reduced its supply
      in Boston, complained reformer J.Frank Chase in 1912, ‘dope users have
      turned to [heroin], and as this drug is not so well known we find
      apothecaries who would not sell cocaine who are selling heroin apparently
      quite freely’.46 It could be taken in the same manner, by sniffing, and did
      not require use of a needle and syringe. Heroin had the added attraction of
      alleviating the unpleasant effects of cocaine withdrawal, particularly
      depression. Heroin was a powerful tranquillizer— sometimes too
      powerful: in Philadelphia several switchers ended up on the coroner’s slab,
      dead by overdose.47 Those who survived often became compulsive heroin
      users. In the 1910s reports began to surface of heroin addicts in New York
      City, Philadelphia and other cities who had a prior history of cocaine use.48
      In 1923 Lawrence Kolb, a pioneer of addiction treatment in the United
      States, began a systematic study of 230 cases of narcotic addiction. His
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       manuscript records show that forty of these cases were heroin addicts, and
       that fully twenty-six of the forty used cocaine prior to or concurrent with
       their first use of heroin.49

                                            III
       The first American cocaine epidemic ended with the 1920s. For the next
       four decades, from 1930 to 1969, cocaine was a triply marginal drug in the
       United States. It was of marginal concern to the police, of marginal concern
       to the public, and of marginal interest to the main addict sub-culture,
       which was geared towards heroin. I have recorded the life histories of older
       narcotic addicts who were active during this period and found among them
       a consistent attitude towards cocaine. ‘When you have some cocaine, fine’,
       summarized one man, who was a professional dancer. ‘Beautiful. But it’s a
       short-lived euphoria…. Cocaine is a lot more expensive than heroin. So
       when you mixed some cocaine with heroin, it was done sparingly.’50 The
       use of speedballs (combinations of heroin and cocaine) was regarded by
       addicts as an expensive treat, rather like eating a hot fudge sundae instead
       of plain vanilla ice cream. Of sixty-five interviewees, only one could be
       described as primarily a cocaine addict, and eventually he had to switch to
       sniffing and then injecting heroin.
           Some, in all probability the majority, of mid-twentieth-century cocaine
       users were not addicted, either to heroin or to cocaine itself. The dilettanti
       included entertainers and musicians, Bohemians, prostitutes and assorted
       underworld figures. Their numbers were not large. Cocaine seizures were
       tiny compared to seizures of the opiates and marijuana, which the Bureau
       of Narcotics regarded as the most common illicit drugs. During 1938, the
       year after the prohibitive Marijuana Tax Act was enacted, the federal
       government seized 558 kgs of bulk marijuana, nearly 18,000 marijuana
       cigarettes, and seized or destroyed 40,000 marijuana plants. In 1938 federal
       agents also confiscated 674 kgs of opium,51 12 kgs of morphine, and over
       94 kgs of heroin. Federal cocaine seizures in 1938 totalled only 417 gms—
       less than a half of 1 per cent of the weight of the confiscated heroin.52
       Reports of annual seizures throughout the 1930s, 1940s, 1950s and 1960s
       revealed a similar distribution: cocaine seizures were but a fraction of the
       seizures of opiates.53 Even in New York City, the national entrepôt of the
       illicit drug traffic, cocaine became scarce. A significant New York City
       police problem as late as 1926, cocaine was practically gone by 1940.54 In
       1957 Harry Anslinger, head of the Bureau of Narcotics, declared that
       cocaine addiction had disappeared in the United States.55 He was
       exaggerating, but, if seizures are any indication, the problem was by then
       minuscule.
           Minuscule is not the term that comes to mind to describe cocaine abuse
       and addiction in the United States during the 1970s, 1980s and 1990s, the
       decades of the second epidemic. The epidemic can be broken down into
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       three stages: a sustained increase in cocaine use, mostly sniffing from an
       initially low level in 1969 through the early 1980s; the explosive growth of
       crack smoking in the mid-1980s; and a decline after 1988 among younger,
       casual and affluent users, though not among those already addicted.
           The American cocaine revival had several different origins. One,
       curiously, was the growing availability of methadone programmes for
       heroin addicts in the late 1960s and early 1970s. At a sufficiently high
       maintenance dose, methadone blocked the euphoric effects of opiates while
       satisfying addicts’ physical need for them. However, methadone patients
       soon discovered that non-opiate drugs, including cocaine, could still
       produce pleasure. To acquire cocaine they sometimes sold or traded part of
       their supply of methadone. By 1970 one Philadelphia methadone patient in
       five showed traces of cocaine in his urine.56
           Restrictions on amphetamines also played a role in the cocaine revival.
       Introduced in the 1930s, the amphetamines were relatively inexpensive
       stimulants, widely and legally available. Some 200 million tablets were
       given to American troops during the Second World War, and by the 1950s
       amphetamine use had spread to college students, athletes, truck drivers and
       housewives in the United States. In fact, the growing popularity of the
       amphetamines may well have contributed to cocaine’s mid-century
       eclipse.57 By the early 1970s, however, amphetamines were becoming
       subject to tighter restrictions. ‘Speed kills’, the most concise and probably
       the most effective anti-drug slogan in American history, warned of
       amphetamines’ toxic effects. Fear and shorter supplies of amphetamines
       made cocaine an attractive alternative. The illusion of cocaine’s safety was
       widespread until 1986, when basketball star Len Bias collapsed and died of
       an overdose. The widespread publicity following Bias’ death—analogous in
       many ways to actor Rock Hudson’s death from AIDS—served notice that
       cocaine could kill at any age.58
           But the Len Bias tragedy lay in the future. In the late 1960s and 1970s the
       United States was experiencing a population bulge of 16- to 25-year-olds,
       the celebrated baby boom. Because experimentation with illicit drugs
       typically occurs during these years, the number of potential new users was
       unusually large. Political turmoil increased the likelihood of
       experimentation, especially with marijuana. Pot was a cheap, double-duty
       drug, smoked for the high and for symbolic protest against the forces of
       war and segregation.59 Students who tried marijuana and who suffered no
       ill effects grew sceptical (if they were not already) of drug abuse warnings,
       dismissed as so much propaganda.
           Cocaine was a logical next-step drug for baby boomers attuned to the
       recreational possibilities of illicit substances. It was subtly pleasurable,
       sexually stimulating, easy to use, considered to be safe and, though
       expensive, affordable for those with substantial allowances or good jobs. At
       some universities the percentage of undergraduates who experimented with
       cocaine increased tenfold between 1970 and 1980.60 Bob Colacello, the
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       editor of Interview magazine, recalled that ‘cocaine suddenly was
       everywhere’ in New York City by the mid-1970s.

         It went from something people tried to hide, except among close
         friends, to something people took for granted, and shared openly. …
         None of us thought cocaine was really dangerous, or even addictive,
         back then. Heroin was off limits in our crowd, but coke was like
         liquor or pot or poppers, fuel for fun, not self-destruction.61

       The new fun fuel was openly indulged by some of the most famous
       celebrities in the world, from Mick Jagger to the glitterati who frequented
       New York’s Studio 54 nightclub. Reports of celebrity use were, in an
       unintended way, like the written endorsements of eminent persons, such as
       Thomas Edison, which had helped to sell Vin Mariani a century before.62
          The American mass media, slavering for trends among the young and
       famous, played up the cocaine renaissance. Cover stories on the drug and
       its (revised) history appeared in both conventional and counter-cultural
       magazines. Easy Rider, one of the most popular and profitable films of
       1969, opened with a cocaine deal on the Mexican border. It was followed
       by a string of 1970s hits like Superfly or Annie Hall in which cocaine
       played at least a cameo role. Retailers capitalized on the trend by stocking
       cocaine handbooks and gilded paraphernalia, symbols of sexual prowess
       and conspicuous consumption. ‘Everyone here has the Jordache look’,
       wrote novelist Jay McInerney, describing the clientele of a fashionable
       Manhattan singles bar of the early 1980s. ‘Hundreds of dollars’ worth of
       cosmetics on the women and thousands in gold around the necks of the
       open-shirted men. Gold crucifixes, Stars of David and coke spoons hang
       from the chains.’63

                                           IV
       As the 1070s ended most Americans knew that cocaine use was spreading,
       but they were not unduly alarmed by the trend. The past having been
       forgotten or sanitized, the prevailing view was that cocaine sniffing was
       neither addictive nor déclassé, most users being affluent, White, sexy and
       successful. This benign view of the drug and the related commodification
       of its paraphernalia were to prove short-lived, however. By 1986 cocaine
       was no longer thought of as an accessory of the wealthy, nor was it
       necessarily associated with sniffing. Indeed, cocaine had by then acquired a
       reputation as America’s most dangerous and addictive drug, linked, as it
       had been in the early 1900s, with poverty, crime, depravity and death.
          What happened was a shift in the pattern of cocaine usage, triggered by
       an increase in supply, a lowering of wholesale and retail prices, and the
       introduction of new techniques of administration, freebasing and smoking
       crack. Colombian drug traffickers, who in the late 1970s realized that they
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       could earn far more by smuggling cocaine than marijuana, developed an
       elaborate network for acquiring, processing, and transporting the drug. By
       1982 these smugglers had become so sophisticated that they were air-
       dropping cocaine in watertight containers to waiting speedboats, which
       raced off to Miami at ninety miles per hour. They secured protection for
       their operations by means of systematic bribery and violence. In Colombia,
       where assassinations and car bombings became commonplace,
       uncooperative government officials were subjected to a reign of terror.64
          Producers in Peru and Bolivia, whence most of the coca leaves came,
       expanded their acreage to take advantage of the rising demand. More
       cocaine entered the smuggling pipeline, driving down prices. Between 1980
       and 1988 the wholesale price of the drug in the United States dropped from
       $60,000 to $10,000–15,000 a kilo.65 Some of these savings were passed on
       to lower-level dealers and consumers. The standardized price, defined as
       the price paid per pure gram of cocaine in a 1-oz transaction, declined from
       over $120 at the beginning of 1981 to just $50 in late 1988.66
          As cocaine became cheaper in bulk it also began to be sold in smaller and
       less expensive units. The key was the development and popularization of
       crack. Beginning in California in 1974, avant-garde users took to
       converting illicit powder cocaine, which was adulterated and non-
       combustible, into cocaine freebase. The method, which involved heating
       cocaine hydrochloride in a water solution with ammonia and ether,
       was complicated and time-consuming, but it produced pure crystalline
       flakes of cocaine that were suitable for vaporization and inhalation from a
       pipe. The vapour went from lung to arterial blood to heart to brain, jolting
       the user with a powerful rush. Just as smoking cigarettes was a more
       intensely pleasurable way of using tobacco than dipping snuff, freebasing
       was a more intensely pleasurable way of using cocaine than sniffing. By the
       late 1970s freebasing was in vogue in Hollywood and environs, though
       expense and complexity limited its appeal. The near-death in 1980 of
       comedian Richard Pryor, who caught fire while preparing freebase, served
       to warn that the process could be dangerous. What was needed, from a
       marketing standpoint, was a form of freebase that was cheap and ready to
       use.
          The ultimate answer was crack. Heating cocaine hydrochloride in a simple
       baking-soda-and-water solution produced a residue of cocaine which was
       not as pure as freebase but which was none the less suitable for the pipe,
       and easy to sell in small chunks. Because these chunks made a crackling
       sound when smoked, they came to be called ‘crack’.
          Crack’s big advantage was low unit cost. Cocaine powder generally
       retailed for $75 or more a gram, but crack could be sold in small vials for
       $5 or less, bringing it within reach of the poor. By 1984 the crack trade,
       fuelled by ever larger and purer shipments of smuggled cocaine, was
       flourishing in such impoverished districts as South Central Los Angeles or
       Miami’s Overtown and Liberty City. By 1985 the crack revolution was
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       transforming the cocaine business in Washington Heights, Harlem and
       other New York City neighbourhoods populated by Blacks and Latinos.
       Heroin, the inner-city drug -of-choice a decade before, was partially
       eclipsed by cocaine—in Miami, almost totally so. Pure heroin addicts
       became increasingly rare. In San Francisco and Oakland heroin addicts
       took advantage of the cocaine surfeit to speedball more often, and even
       began smoking crack after injecting heroin-cocaine solutions into their
       veins.67
          The profile of the crack smokers of the mid-1980s was quite different
       from that of cocaine sniffers five years before. Although suburbanites
       would drive through the ghetto to purchase crack for home consumption,
       regular crack users were concentrated in poor Black and Latino
       neighbourhoods.68 So were the street-level dealers. In Washington, DC,
       Black adolescents who sold crack could expect to earn an average of $30
       an hour, more than four times the hourly wage of the legitimate jobs open
       to them.69 The crack business had other advantages: no White bosses to
       placate, no strictures on language, dress, or demeanour, no forms to fill
       out, no taxes to pay. Chances for advancement were better than in the
       legitimate service sector. For those whose future prospects were otherwise
       bleak, hustling crack was an appealing job.70
          If they survived. By 1986 and 1987 the crack trade was
       attracting heavily armed gangs like the Shower Posse, so named for
       showering automatic fire on their opponents. As the bodies and drugs
       stacked up in the metropolises, enterprising gang members began taking
       their abundant product elsewhere, branching out into second-tier cities like
       Seattle and Kansas City, and even Mississippi Delta towns like
       Clarksdale.71 ‘[T]oo many dope dealers in Los Angeles’, explained one
       gang member. ‘So they take it out of town. The profits are better. Here you
       can sell an ounce for $600, over there you can sell it for $1,500.’72
          Because crack was cheap and did not have to be injected, an unusually
       high percentage, in some places a majority, of its smokers were women.73
       Like their turn-of-the-century counterparts, they frequently resorted to
       prostitution or its equivalent, trading sex for drugs. The exchange often
       took place in ‘freak houses’—a freak being a woman who would perform
       any form of intercourse, oral, anal and unprotected vaginal. Thus crack
       contributed to the other great American epidemic of the 1980s, the spread
       of HIV infection.74
          It also gave rise to a new pathology, crack babies. Researchers have
       disputed the magnitude and source of crack babies’ medical problems, but
       there is no doubt that in utero cocaine exposure increased after 1985. In
       that year 5.3 of every 1,000 New York City birth certificates reported
       cocaine or crack exposure; in 1990 the rate was 17.6. Of the 2,455
       cocaineexposed babies born in New York City in 1990, 66.3 per cent were
       Black and 20.3 were Puerto Rican. Similar data from other cities
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       emphasized that the crack baby problem, like crack smoking itself, was
       concentrated among the non-White and the poor.75
          The disturbing consequences of crack smoking were made known to the
       American public beginning in 1986, when the media seized upon the crack
       story, giving full play to its most sordid elements. Although mass-
       circulation newspapers and articles had not been alarmist about cocaine in
       the 1970s or early 1980s, crack was portrayed as extremely—indeed,
       uniquely—addictive, and a prolific source of urban crime.76 Similar fears
       were voiced in Congressional hearings, where crack was compared to the
       Black Death.77 Crack catalyzed what came to be known as the drug war,
       formally declared by President Reagan in August 1986. By 1993 the drug
       war had produced three nationally televised presidential addresses, two
       omnibus federal anti-drug laws, the creation of a national ‘drug czar’, and
       a fivefold increase in the federal drug control budget. It was easily the most
       dramatic, sustained and controversial governmental response to illicit drug
       abuse in American history.78
          By 1988 it was apparent that cocaine was declining in popularity among
       middle-class and casual users, made wary by the negative publicity and new
       emphasis on its addictive potential. Crack was also becoming less popular
       among potential initiates.79 The drug war had less impact on those who
       were already regular consumers, however. An ageing cohort of
       heavy users, who had begun their careers in the 1970s or 1980s, persisted
       in abusing cocaine in the early 1990s, developing serious health problems as
       a consequence. The number of such users has been disputed,80 but it is
       widely agreed that since the late 1980s cocaine has been increasingly
       confined to a ‘residual group of dysfunctional drug users’ who are
       concentrated in urban minority groups.81
          The transformation of cocaine from golden drug to ghetto drug was
       reinforced by the conduct of the drug war itself. Nationwide, Blacks were
       four times as likely—in some cities more than twenty times as likely— than
       Whites to be arrested on drug charges. The disproportionate arrest rate for
       Blacks has been variously attributed to racism, search tactics based on
       minority profiles, or to the fact that minority drug dealers and couriers are
       highly visible, easy targets for police.82 Whatever the motivation for the
       large number of Black arrests, their ritualized presentation in newspapers
       and television news programmes intensified the impression that cocaine use
       and dealing were becoming the near-monopoly of the Black community.
          Racial disparity was also built into the sentencing provisions of the 1986
       federal anti-drug law. That statute specified a mandatory minimum
       sentence of ten years for a violation involving 50 gms of crack cocaine, but
       required a full 5 kgs (100 times the weight of crack) to warrant a
       comparable sentence for a powder cocaine violation.83 The official
       justification of this disparity, known as the 100-to-1 ratio, was that crack
       is more dangerous and addictive than powdered cocaine. Those who have
       challenged the law have pointed out that powdered cocaine can be
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       dissolved and injected, which is every bit as dangerous as smoking,
       probably more so, given the risk of needle-transmitted HIV infection. They
       have also charged that the real motivation and effect of this provision is to
       single out for harsher punishment Blacks who sell this particular form of
       cocaine. In 1992 nine out of ten defendants convicted of federal crack
       violations were Black, as compared to fewer than three of ten convicted of
       powder cocaine violations.84 Because less crack was required to trigger a
       long mandatory sentence, convicted Black crack dealers were more likely to
       receive harsher punishment, despite the fact that they were usually only
       retailers in the drug distribution chain.
          The sentencing double standard is not surprising. The background of
       users and sellers has always been an important determinant of the legal
       response, for cocaine or for any other psychoactive substance. The first
       anti-cigarette laws appeared in the United States in the 1890s, but there
       were no equivalent laws against cigars or pipe smoking. This seems
       irrational—tobacco smoke is tobacco smoke—but it makes social sense
       when we recall Jane Addams’ observation that cigarettes were defiantly
       puffed by street urchins, while cigar and pipe smoking were habits of
       respectable men.85 Anti-cocaine legislation, which also dates to the
       1890s, was not enacted until it became clear that non-medical cocaine use
       was spreading among persons who were either considered anti-social or
       who might become so. Likewise, the high political drama and prison-
       mindedness of the drug war commenced only after it was apparent that
       compulsive cocaine use, especially crack smoking, was widespread in the
       urban underclass.
          The post hoc ergo propter hoc fallacy is an old enemy of historians, and
       should be paid its due when we render causal judgements. I do not wish to
       argue that whenever the social and class characteristics of a particular drug-
       using population perceptibly worsen, stricter legislation will automatically
       follow. The formulation of drug policy is not simply the institutionalization
       of prejudice. It is a highly complex process shaped by experienced and, for
       the most part, rational actors who must respond to conflicting demands
       and forces, often with incomplete knowledge. Nevertheless, the history of
       the American cocaine epidemics reminds us that something more than
       reasoned debate shapes drug policy. Fear, anger, disgust and resentment
       have been the most common reactions to drug abuse by deviant members of
       society, above all by criminally inclined members of a racial minority.
       Moral and religious conservatives, more numerous and politically
       significant in the United States than in Europe, have been the most
       vociferous in their denunciations, but even the secular high priests of the
       New York Times’ editorial page (‘Mothers Turned Into Monsters’) have
       been known to strike the shrill note.86 Such deeply felt reactions have not
       escaped political strategists, preoccupied with polls and ‘moving numbers’.
       American legislators have long faced an electoral temptation to go beyond
       what is necessary to deal with the public health aspect of the illicit drug
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       problem, the very definition of which is shaped by user characteristics. In
       yielding to that temptation, they have created a regime for suppressing
       cocaine that is among the strictest in the world.

                                           NOTES

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           have been artificially low due to depressed economic conditions. In
           subsequent years the price rose and fluctuated around $4 an ounce—still
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        25 ‘The drug-habit menace in the South’, Medical Record, 1914, vol. 85, p. 247.
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           43, National Archives, Washington, DC.
        29 A. James Giannini et al., ‘Cocaine-associated violence and relationship to route
           of administration’, Journal of Substance Abuse Treatment, 1993, vol. 10, pp.
           67–9.
        30 In 1886 Parkc, Davis & Co., a leading American manufacturer of coca and
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           their utility in treating throat affections. This means of using the drug seems
           not to have caught on, however. By the early 1900s the drug was generally
           obtained through patent medicines like Tucker’s Asthma Specific or Crown
           Catarrh Powder, through medicated ‘soft’ drinks like Koca-Nola or Kola-
           Ade, or by outright purchase of cocaine hydrochloride, which could be
           injected or sniffed up the nose.
        31 Williams, op. cit., p. 249. ‘I am not an advocate of whiskey’, the above-
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           liquor.’ ‘Cocaine sniffers’, p. 11. See also David F. Musto, The American
           Disease: Origins of Narcotic Control, revised edn, New York, Oxford
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           1900, vol. 34, p. 1637, and ‘“Cocaine Alley”’, op. cit., pp. 337–8.
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        37 Fifteen states also required that students in public schools receive instruction
           in the effects of alcohol and narcotic drugs—‘narcotic’ then understood to
           include cocaine. Martin I.Wilbert, ‘Efforts to curb the misuse of narcotic
           drugs: a comparative analysis of the federal and state laws designed to
           restrict or regulate the distribution and use of opium, coca, and other
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             893–923.
        38   Musto, The American Disease, op. cit., pp. 103–4.
        39   US Senate, Report on International Opium Commission, op. cit., p. 50; Martin
             I. Wilbert, ‘Sale and use of cocaine and narcotics’, Public Health Reports,
             1914, vol. 29, pp. 3180–1.
        40   I say ‘enlarge’ because a small underground market actually existed before
             regulation, due to the fact that some retailers refused to sell to customers they
             deemed to be other than legitimate. Middlemen who had no such scruples
             would purchase and resell cocaine in the underworld, usually at inflated
             prices. Formal regulations had the effect of expanding this type of
             diversionary activity. Spillane, op. cit.
        41   Even before the passage of state and federal laws the more professionally
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             contributed to the rise of the underground market. Joseph Spillane, ‘The
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        43   Undated clipping, ‘Grand jury gets behind cocaine sellers’, New Orleans Item,
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        50   David T.Courtwright, Herman Joseph and Don Des Jarlais, Addicts Who
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             Knoxville, University of Tennessee Press, 1989, p. 235.
        51   All forms, including crude, smoking, medicinal and tinctures and extracts.
        52   US Treasury Department, Bureau of Narcotics, Traffic in Opium and Other
             Dangerous Drugs, Washington, DC, Government Printing Office, 1939, pp.
             80–5.
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        53 A partial exception to this generalization would be the years 1948–9, when
           there was an influx of Peruvian cocaine and a dramatic, but temporary,
           increase in seizures. ‘The white goddess’, Time, 11 April 1949, vol. 53, p. 44.
        54 ‘Cocaine used by most drug addicts’, New York Times, 15 April 1926, p. 20;
           Garland Williams, New York District Supervisor, to Harry Anslinger,
           Commissioner of Narcotics, 9 February 1940, US Treasury Department File
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        55 Harry Anslinger and Kenneth W.Chapman, ‘Narcotic addictions’, Modern
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        56 Gerald T.McLaughlin, ‘Cocaine: The history and regulation of a dangerous
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           Users: Trips to the Land of Cockaigne [sic], National Institute on Drug
           Abuse Research Monograph 16, Washington, DC, Government Printing
           Office, 1976, p. 14, and Barry Spunt et al., ‘Methadone diversion: a new
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           Dean R.Gerstein and Henrick J.Harwood (eds), (Committee for the
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           of Medicine), Treating Drug Problems: A Study of the Evolution,
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           Washington, DC, National Academy Press, 1990, vol. 1, pp. 147–51.
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           (eds), The Epidemiology of Cocaine Use and Abuse, National Institute on
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           Crackhouse: Notes from the End of the Line, Reading, Mass., Addison-
           Wesley, 1992.
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           Whites to persist and to become heavily involved with it. North-eastern
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           pp. 60–81, quotation at 77.
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           sex-for-drugs trade as a unique feature of the crack subculture (p. 276). In
           the early 1980s, before the crack explosion, masseuses bartered powder
           cocaine for sex. Donald R. Wesson, ‘Cocaine use by masseuses’, Journal of
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           female heroin addicts and, according to Goldstein, who is an authority on
           drugs and prostitution, has historically been commonplace in the illicit drug
           world: Goldstein, op. cit., p. 121.
        75 Herman Joseph and Karla Damus, ‘Prenatal cocaine/crack exposure in New
           York City’, and Daniel R.Neuspiel and Sara C.Hamel, ‘Cocaine and infant
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           October 1991, Issue 2, pp. 4–6 and pp. 14–25, respectively.
        76 See, for example, Tom Morganthau et al., ‘Crack and crime’, Newsweek, 16
           June 1986, vol. 107, pp. 16–22. It is striking that, fifteen years before, cocaine
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           124. Drug authorities who had in the 1970s downplayed the dangers posed
           by cocaine also began changing their minds, sometimes reversing themselves
           in print. E.g., Waldorf et al., op. cit., pp. 8–9. Even professional
           ethnographers like Terry Williams, who ordinarily confine themselves to
           objective and value-neutral language, have deplored the crack revolution. See
           The Cocaine Kids, op. cit., pp. 107–11.
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           distributors who had become involved after 1987. Burdick, op. cit., p. 15.
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           Hard-Core Cocaine Addicts: Measuring—and fighting—the Epidemic: A
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           arrestees’, International Journal of the Addictions, 1990–1, vol. 25, pp. 377–
           409, quotation at p. 377. Data on cocaine-related emergencies showed a
           marked increase in patients who were Black, urban, and older in the early
           1990s. ‘Cocaine: the first decade’, Rand Drug Policy Research Center Issue
           Paper, April 1992. vol. 1(1), p. 3, and US Department of Health and Human
           Services, Public Health Service, Substance Abuse and Mental Health Services
           Division, Office of Applied Studies, Preliminary Estimates from the Drug
           Abuse Warning Network, Rockville, Md., xeroxed advance report, April
           1993, p. 5. What has happened with heavy cocaine users is reminiscent of the
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           and drug treatment programmes in the 1970s and 1980s.
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           by city.
        83 21 United States Code § 841(b).
        84 US District Court, Eastern District of Missouri, Eastern Division, defense
           brief in US vs. Clary, no. 89–00167–CR(4), pp. 4–5.
        85 Burnham, op. cit., pp. 90–2.
        86 Sub-heading from an editorial, ‘Crack’, 28 May 1989, sec. 4, p. 14.
